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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 UNITED STATES OF AMERICA,                        :   CASE NO. 2:22-mj-366
                                                  :
                       Plaintiff,                 :   MAGISTRATE JUDGE DEAVERS
                                                  :
                           v.                     :
                                                  :   UNOPPOSED MOTION FOR
                                                  :   EXTENSION OF TIME DURING WHICH
 SHIHAB AHMED SHIHAB SHIHAB,                      :   INDICTMENT/INFORMATION MUST
                                                  :   BE FILED
                      Defendant.                  :



       Now comes United States of America, by and through the undersigned attorneys, along

with counsel for Defendant Shihab Ahmed Shihab Shihab, and respectfully move this Court for an

order extending the time for the return of an Indictment or Information pursuant to 18 U.S.C.

§ 3161(b) from June 23, 2022, to July 22, 2022. Mr. Shihab is aware of his right to the timely

filing of an Indictment or Information, afforded to him under 18 U.S.C. § 3161(b), and hereby

waives that right for the purposes of this motion. Defense counsel has communicated with his

client and certifies that this waiver is knowingly and voluntarily made. The Parties believe this

continuance would best serve the interests of justice and that the time would be excludable

pursuant to 18 U.S.C. § 3161(h)(7)(A).

       Given the nature of the instant case, the voluminous discovery, and the desire to explore

the possibility of a pre-indictment resolution, the Parties are requesting additional time before an

Indictment or Information must be filed. As always, the Parties have exercised and will continue

to exercise due diligence in reviewing discovery and reaching a prompt resolution of this matter.
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        For these reasons stated herein, the United States and Defendant’s counsel request an

extension of the time within which an Indictment or Information may be filed in this case until

July 22, 2022. George Chaney, attorney for Shihab Ahmed Shihab Shihab, has indicated that he

agrees to the requested extension of the time.



                                                     Respectfully submitted,

                                                     KENNETH L. PARKER
                                                     United States Attorney


                                                     s/Jessica W. Knight
                                                     JESSICA W. KNIGHT (0086615)
                                                     Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Unopposed Motion for Extension of Time

During Which Indictment/Information Must be Filed was served on June 1, 2022, electronically

on all parties of record.



                                                     s/Jessica W. Knight
                                                     JESSICA W. KNIGHT (0086615)
                                                     Assistant United States Attorney




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